Case No. 1:14-cv-03074-CMA-KMT Document 1097-1 filed 06/08/18 USDC Colorado pg 1
                                     of 8




                        Exhibit 1
Case No. 1:14-cv-03074-CMA-KMT Document 1097-1 filed 06/08/18 USDC Colorado pg 2
                                     of 8



                                                                  Page 1

   1                   IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
   2
   3      JOHANA PAOLA BELTRAN, et              )
          al.,                                  )
   4                                            )
                           Plaintiffs,          )
   5                                            ) CIVIL ACTION
          VS.                                   )
   6                                            ) NO.: 14-cv-03074-CMA-KMT
          INTEREXCHANGE, INC.,                  )
   7      et al.,                               )
                                                )
   8                       Defendants.          )
   9                   -----------------------------------
  10                    ORAL AND VIDEOTAPED DEPOSITION OF
  11                              LINDA ELIZABETH
  12                                 MAY 14, 2018
  13                   -----------------------------------
  14
  15             ORAL AND VIDEOTAPED DEPOSITION OF LINDA ELIZABETH,
  16      produced as a witness at the instance of the DEFENDANT,
  17      and duly sworn, was taken in the above-styled and
  18      numbered cause on May 14, 2018, from 10:09 a.m. to
  19      3:15 p.m., before Wendy Schreiber, CSR No. 9383, in and
  20      for the State of Texas, reported by machine shorthand,
  21      at the Law Offices of OGLETREE, DEAKINS, SMOAK &
  22      STEWART, pursuant to the Federal Rules of Civil
  23      Procedure and the provisions stated on the record or
  24      attached hereto.
  25

                                 Veritext Legal Solutions
       212-279-9424                www.veritext.com                  212-490-3430
Case No. 1:14-cv-03074-CMA-KMT Document 1097-1 filed 06/08/18 USDC Colorado pg 3
                                     of 8



                                                                              Page 32

   1              Q.   You mentioned the host mom was                  NAME REDACTED      .
   2      Was there another parent or adult in the household as
   3      well?
   4              A.   Yes.
   5              Q.   Who was that?
   6              A.   NAME REDACTED       .
   7              Q.   While you were the NAME REDACTEDau pair, did
   8      work outside of the house?
   9              A.   Yes.
  10              Q.   What did she do for a living?
  11              A.   She did some sort of research.
                           NAME
  12              Q.   DidREDACTED work outside of the house while you
  13      were their au pair?
  14              A.   Yes.
  15              Q.   And what did he do for a living?
  16              A.   At the time he was a consultant.
  17              Q.   Do you remember when you first traveled to the
  18      United States?
  19              A.   Yes.
  20              Q.   When was that?
  21              A.   That was September 24th, 2007.
                                                                        NAME
  22              Q.   How long did you stay with the                   REDACTED     as
  23      their au pair?
  24              A.   I stayed -- I stayed with them for 12 months.
                                                                  NAME
  25              Q.   When you came over to the                  REDACTED   family, how

                                       Veritext Legal Solutions
       212-279-9424                      www.veritext.com                          212-490-3430
Case No. 1:14-cv-03074-CMA-KMT Document 1097-1 filed 06/08/18 USDC Colorado pg 4
                                     of 8



                                                                  Page 34

   1            Q.    When was the last time you spoke with them?

   2            A.    I don't remember.     It must have been a few

   3      months, yeah.
                                          NAME
   4            Q.    Have you seen the REDACTED family since you left

   5      in 2008?

   6            A.    Yes.

   7            Q.    About how many times?

   8            A.    I think about maybe three times.       Three or four

   9      times.

  10            Q.    Have you visited them or have they visited you

  11      or some combination?

  12            A.    I have visited them.

  13            Q.    In Pennsylvania?

  14            A.    Yes.

  15            Q.    You just testified that you wanted to return to

  16      Germany because you missed your family and wanted to

  17      finish your education.

  18            A.    Yes.

  19            Q.    When you returned to Germany, did you begin

  20      pursuing your education again?

  21            A.    I -- at that time because my year didn't end

  22      until September or October of 2008, it was already too

  23      late for school because it usually starts in the

  24      beginning of September so I worked a year as a cashier

  25      again and in that year I applied for different

                                  Veritext Legal Solutions
       212-279-9424                 www.veritext.com                  212-490-3430
Case No. 1:14-cv-03074-CMA-KMT Document 1097-1 filed 06/08/18 USDC Colorado pg 5
                                     of 8



                                                                 Page 56

   1              A.   Correct.
   2              Q.   Where in the United States did you first
   3      arrive?
   4              A.   In New York City.
   5              Q.   Who made your travel arrangements?
   6              A.   Cultural Care.
   7              Q.   And who paid for your travel?
   8              A.   Cultural Care.
   9              Q.   When you arrived in New York, where did you
  10      stay?
  11              A.   We were being transported to I believe it was
  12      Oak -- Oakdale, Oakland.          It was like on Long Island,
  13      New York.
  14              Q.   So you went to a campus on Long Island?
  15              A.   Yes.   It was -- I believe it was in St. John's
  16      University like a campus, yeah.
  17              Q.   How long did you stay at St. John's?
  18              A.   We arrived there on Monday and left that --
  19      that coming Friday.
  20              Q.   What did you do while you were there?
  21              A.   We had training.
  22              Q.   Did you stay overnight on the campus?
  23              A.   Yes.
  24              Q.   Who paid for the lodging there?
  25              A.   Cultural Care.

                                  Veritext Legal Solutions
       212-279-9424                 www.veritext.com                 212-490-3430
Case No. 1:14-cv-03074-CMA-KMT Document 1097-1 filed 06/08/18 USDC Colorado pg 6
                                     of 8



                                                                  Page 57

   1            Q.    Were you provided with meals while you were on

   2      campus?

   3            A.    Yes.

   4            Q.    Who paid for the meals?

   5            A.    Cultural Care.

   6            Q.    You testified that you arrived on Monday.      Was

   7      there any training that occurred on Monday?

   8            A.    No, because we didn't actually arrive to the

   9      school until very late at night so...

  10            Q.    So the training started on Tuesday?

  11            A.    Yes.

  12            Q.    What do you remember about the training?

  13            A.    I remember going over never shake a baby.      We

  14      had CPR training.     We did have a police officer come out

  15      going over what things we shouldn't do like, you know,

  16      under 21 no drinking and if we get ever -- if we ever

  17      drive and get stopped by a police officer how we should

  18      handle that situation.       Yeah, that's -- and I remember

  19      that at some -- one night we had to build groups and I

  20      believe it was sing songs from -- yeah, it was groups by

  21      country or by language more or less and we had to

  22      prepare a song -- German for us -- a German children's

  23      song -- and perform that in front of the other au pairs

  24      there.

  25            Q.    So you testified the training occurred on

                                  Veritext Legal Solutions
       212-279-9424                 www.veritext.com                 212-490-3430
Case No. 1:14-cv-03074-CMA-KMT Document 1097-1 filed 06/08/18 USDC Colorado pg 7
                                     of 8



                                                                       Page 58

   1      Tuesday.     Did it also occur on Wednesday?

   2             A.   Yes.

   3             Q.   And Thursday?

   4             A.   Thursday they -- only part of the day.

   5             Q.   And what did you do with the other part of the

   6      day?

   7             A.   We took a trip to New York City.

   8             Q.   Did you go on the trip to New York City?

   9             A.   Yes.

  10             Q.   Do you remember approximately how many hours of

  11      training there was on Tuesday?

  12             A.   Maybe eight.

  13             Q.   And on Wednesday?

  14             A.   Around the same I would think.

  15             Q.   And then on Thursday?

  16             A.   I don't remember exactly.            Maybe two or three

  17      hours.

  18             Q.   Was there any additional training on Friday?

  19             A.   No.

  20             Q.   What did you do on Friday?

  21             A.   On Friday we were all getting ready to leave

  22      but actually some au pairs were picked up by the

  23      families that lived close but at this time we had a

  24      blizzard coming so a lot of flights were already

  25      canceled but my host mom wanted me to go to the airport

                                     Veritext Legal Solutions
       212-279-9424                    www.veritext.com                   212-490-3430
Case No. 1:14-cv-03074-CMA-KMT Document 1097-1 filed 06/08/18 USDC Colorado pg 8
                                     of 8



                                                                  Page 59

   1      anyway and fly standby actually which I did and I spent

   2      Friday -- all Friday at the airport which then

   3      ultimately closed and I was waiting by myself at the

   4      airport to be picked back up so, yeah.

   5              Q.   Who picked you back up from the airport?

   6              A.   Someone from the training school.

   7              Q.   And where did they take you?

   8              A.   Back to the training school.

   9              Q.   Where did you stay?

  10              A.   In the same room that I had before.

  11              Q.   Were there other au pairs who were there

  12      because of canceled flights?

  13              A.   Yes.

  14              Q.   What did you do?

  15              A.   I guess we -- we just stayed inside.     We were

  16      communicating, you know, with each other and, yeah, that

  17      was -- that was it.

  18              Q.   Were you provided with food during this extra

  19      time?

  20              A.   Yes.

  21              Q.   And who paid for the food?

  22              A.   Cultural Care.

  23              Q.   When were you unstranded from the blizzard?

  24              A.   Sunday I believe is when we were finally able

  25      to -- to make it back to the airport.

                                   Veritext Legal Solutions
       212-279-9424                  www.veritext.com                212-490-3430
